Case 2:18-cV-00297-.]ES-CI\/| Document 1 Filed 04/30/18 Page 1 of 5 Page|D 1

UNITED STATES DISTRICT COURT
MIDDLE DlSTRICT OF FLORIDA

 

Civil Case Number: M?“ F¢`m *qq w

Andrew Mortenson,

Plaintiff,
vs.

Credit Acceptance Corporation,

Defendant.

 

COMPLAINT
For this Complaint, the Plaintiff, Andrew Mortenson, by undersigned counsel, states as
follows:
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l. This action arises out of Defendant’s repeated violations of the Telephone
Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”) and the Florida Fair Debt
Collection Practices Acl, 559.55-559.785.

2. Supplemental jurisdiction exists pursuant to 28 U.S.C. § l367.

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this action occurred in this District.

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Case 2:18-cV-00297-.]ES-CI\/| Document 1 Filed 04/30/18 Page 2 of 5 Page|D 2

PARTIES

4. The Plaintiff, Andrew Mortenson (“Plaintiff”), is an adult individual residing in
Naples, Florida, and is a “person” as delined by 47 U.S.C. § 153(39) and is a “consumer,” as
defined by 559.55(2).

5. The Defendant, Credit Acceptance Corporation (“CAC”), is a Delaware business
entity with an address of 25505 West Twelve Mile Road, Suite 3000, Southf`leld, Michigan
48034~8339, and is a “person” as defined by 47 U.S.C. § 153(39), and is a “creditor” as defined
by 559.55(3).

FA CTS

6. Within the last year, CAC started calling Plaintiff’s cellular telephone, number
239-xxx-1 120.

7. At all times mentioned herein, CAC contacted Plaintiff using an automated
telephone dialer system (“ATDS” or “predictive dialer") and/or by using an artificial or
prerecorded voice.

8. When Plaintiff answered the calls from CAC, he heard a prerecorded message
instructing Plaintiff to hold for the next available representative

9. During a live conversation in December 2017, Plaintiff demanded that all calls to
him cease immediately.

10. Nonetheless, CAC continued to place automated calls to Plaintiff’s cellular

telephone.

Case 2:18-cV-00297-.]ES-CI\/| Document 1 Filed 04/30/18 Page 3 of 5 Page|D 3

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VIOLATIONS OF THE TCPA - 47 U.S.C. § 227, ET SEQ.

ll. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

12. At all times mentioned herein and within the last four years, Defendant called
Plaintiff on his cellular telephone using an ATDS or predictive dialer and/or by using a
prerecorded or artificial voice.

13. Defendant continued to place automated calls to Plaintiff’s cellular telephone after
being directed by Plaintiff to cease calling and knowing there was no consent to continue the
calls. As such, each call placed to Plaintiff was made in knowing and/or willful violation of the
TCPA, and subject to treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).

14. The telephone number called by Defendant was and is assigned to a cellular
telephone service for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. §
227(b)(l).

15. Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued
calls.

16. The calls from Defendant to Plaintiff were not placed for “emergency purposes”
as defined by 47 U.S.C. § 227(b)(l)(A)(i).

17. Each of the calls made by Defendant constitutes a violation of the TCPA.

18. Plaintiff is entitled to an award of $500.00 in statutory damages for each call

placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

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Case 2:18-cV-00297-.]ES-CI\/| Document 1 Filed 04/30/18 Page 4 of 5 Page|D 4

19. As a result of each call made in knowing and/or willful violation of the TCPA,
Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47
U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

COUNT II

VIOLATIONS OF THE FLORIDA FAIR DEBT
COLLECTION PRACTICES ACT2 559.55-559.785

20. The Plaintiff incorporates by reference Paragraphs 1 though 10 of this Complaint
as though fully stated herein.

21. The Defendant willfully communicated with Plaintiff with such frequency as can
reasonably be expected to harass Plaintiff or willfully engaged in other conduct which can
reasonably be expected to abuse or harass Plaintiff, in violation of the Florida Fair Debt
Collection Practices Act, 559.72(7).

22. Plaintiff is entitled to damages as a result of Defendant’s violations.

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that judgment be entered against Defendant:

A. Statutory damages of` $500.00 for each violation determined to be negligent
pursuant to 47 U.S.C. § 227(b)(3)(B);

B. Treble damages for each violation determined to be willful and/or knowing
pursuant to 47 U.S.C. § 227(b)(3)(C);

C. Statutory damages pursuant to Fla Stat.§ 559.72;

D. Punitive damages pursuant to Fla Stat.§ 559.72;

E. Costs of litigation and reasonable attomey’s fees pursuant to Fla. Stat. § 559.72;
and

F. Such other and further relief as may bejust and proper.

Case 2:18-cV-00297-.]ES-CI\/| Document 1 Filed 04/30/18 Page 5 of 5 Page|D 5

Dated: April 26, 2018

TRIAL BY JURY DEMANDED ON ALL COUNTS

By

Respectfully submitted,

/s/ Tamra Givens

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